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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 CANVASFISH.COM, LLC, a Montana limited liability
 company,

            Plaintiff,
                                                              Case No. 1:21-cv-03676-VMK
    -against-

 JOHN DOES (1-10), et al.,

            Defendants.


    OPENCOMMERCE GROUP, INC.’S AND DINO21, LLC d/b/a TEESHIRT 21’S
  EMERGENCY MOTION TO DISSOLVE EX PARTE TEMPORARY RESTRAINING
         ORDER AND MODIFY PRELMINARY INJUNCTION ORDER

       PLEASE TAKE NOTICE that on Friday, September 24, 2021, at 9:00am Central, or as

soon thereafter as counsel may be heard, OpenCommerce Group, Inc. and Dino21, LLC d/b/a

Teeshirt21 shall appear before Judge Virgnia M. Kendall, at the United States District Court for

the Northern District of Illinois at 219 S. Dearborn St., Chicago, Illinois 60604, Room 2503, and

shall then present OpenCommerce Group, Inc. and Dino21, LLC d/b/a Teeshirt21’s

EMERGENCY MOTION TO DISSOLVE TEMPORARY RESTRAINING ORDER AND

MODIFY PRELIMINARY INJUNCTION ORDER.

                                       INTRODUCTION

       On August 10, 2021, this Court entered an ex parte temporary restraining order (“TRO”)

freezing millions of dollars belonging to defendants and third parties. It has come to the movants’

attention, however, that the Plaintiff never filed an unredacted motion for temporary restraining

order; they mistakenly filed another document in its absence. So the Court entered the TRO based

on a motion that was never filed with the Court until yesterday, and which the Court has never
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seen. Accordingly, the TRO should be dissolved. See Myers v. Frontier PMS, 2021 WL 2906065,

at *6 (E.D. Tex. June 15, 2021) (“A Rule 65(b)(4) motion to dissolve . . . should be granted where

the TRO was improperly issued”), report and recommendation adopted, 2021 WL 2894096 (E.D.

Tex. July 9, 2021).

                                           ARGUMENT

        Non-party OpenCommerce Group, Inc. and Defendant Dino21, LLC d/b/a Teeshirt21’s

(collectively, the “Affected Parties”) respectfully bring this Emergency Motion to dissolve the Ex

Parte Temporary Restraining Order entered on August 10, 2021 (Dkt. 21) (“TRO”) and modify

the Preliminary Injunction Order dated September 9, 2021 (Dkt. 33) to the extent the Preliminary

Injunction Order left the TRO in place, on the ground that the TRO was improperly entered.

        On August 10, 2021, the Court granted an ex parte TRO that resulted in the freezing of

millions of dollars of assets causing irreparable harm to non-parties and defendants alike. See Ex.

A; Dkt. 21.1 On September 9, 2021, the Court entered a Preliminary Injunction Order that left the

ex parte TRO in place. See Ex. B; Dkt. 33. For over a month now, the Affected Parties impacted

by this TRO have been suffering irreparable harm to the point where both businesses are on the

verge of collapse.2 There is only one problem: Plaintiff never filed an unredacted motion for an

ex parte TRO. Plaintiff did file a redacted TRO motion (Dkt. 17) (Ex. F), but that document is

redacted in its entirety (including the entire section that purports to explain why an asset freeze is

appropriate), except for a couple paragraphs of generic legal standards. But instead of filing an



1
  All exhibits are to the Declaration of Vivek Jayaram (“Jayaram Decl.”) filed concurrently with
this motion.
2
  On September 17, 2021, OpenCommerce Group, Inc. filed a Motion to Expedite (Dkt. 48) the
briefing schedule and hearing on its original Motion to Modify the TRO (Dkt. 35). The Motion to
Expedite (Dkt. 48) and supporting declaration (Dkt. 48-1) provide just some examples of the
irreparable harm being suffered by the Affected Parties as a result of the improperly entered TRO.
See Ex. J.

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unredacted TRO motion for the Court to view under seal, Plaintiff “inadvertently” filed a different

document: a motion for electronic service of process (Dkt. 18) (Ex. G). The Court apparently

never noticed the error, and never reviewed the substance of Plaintiff’s TRO motion before

entering the TRO. Jayaram Decl., ¶¶ 9, 17, 22.

       In other words, a crippling ex parte TRO was granted, resulting in the freezing of millions

of dollars of assets belonging to defendants and non-parties alike, without the Court ever seeing

the motion in which that extraordinary relief was requested or the grounds for the requested relief.3

The Affected Parties were not aware of this until late last night, when Plaintiff’s counsel finally

alerted them to the mistake. See Ex. D; Jayaram Decl., ¶¶ 10-17. The reason the Affected Parties

did not (and could not) discover the error any sooner is because the docket entry that supposedly

contained (but did not contain) Plaintiff’s unredacted TRO motion remained sealed until last night,

and Plaintiff refused to provide the Affected Parties with a copy of the never-filed unredacted TRO

motion before yesterday—despite repeated requests from the Affected Parties over the past several

weeks (Jayaram Decl., ¶¶ 6-8), and despite representing in its motion for electronic service that it

would complete service “by publishing a link to the Amended Complaint, the Temporary

Restraining Order and other relevant documents on a website to which the Domain Names that

are transferred to Plaintiff’s control pursuant to the Temporary Restraining Order.” Dkt. 16 at 1;

Ex. G at 1.4



3
  Plaintiff’s counsel seems to think it is sufficient that the Court saw the completely redacted
version of its TRO motion and the supporting declaration of Derek DeYoung (Dkt. 18-1). See Ex.
F. It is not.
4
  Although Plaintiff published a link to the original Complaint and Temporary Restraining Order
on various websites, it has never filed an Amended Complaint that names OpenCommerce Group,
Inc. as a defendant or asserts any specific allegations against either of the Affected Parties.
Jayaram Decl., ¶ 8. Plaintiff never published a link to its unredacted TRO motion on any website,
and never provided a copy of the motion to the Affected Parties—meaning the Affected Parties
had no way of knowing what Plaintiff represented to the Court that led the Court to allow such a

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       Even though the Affected Parties had been requesting that Plaintiff’s counsel provide them

with Plaintiff’s unredacted TRO motion for weeks, it was not until counsel for Plaintiff and the

Affected Parties appeared before the Court for a scheduled hearing on September 22, 2021, that

counsel for Plaintiff finally agreed to provide the Affected Parties with a copy of its sealed TRO

motion, which Plaintiff’s counsel told the Court she would do as soon as the hearing was over.

Jayaram Decl., ¶¶ 6-9.

       Following the hearing, counsel for Plaintiff emailed counsel for the Affected Parties a link

to a folder that she said contained “Plaintiff's motion and memorandum, including all exhibits, in

support of its motion for a temporary restraining order in this case.” Ex. C; Jayaram Decl., ¶ 10.

Counsel for OpenCommerce responded to Plaintiff’s counsel by pointing out the folder she sent

did not contain Plaintiff’s unredacted TRO motion. See Jayaram Decl., ¶ 11; Ex. D at 5 (“Unless

I am missing something, I do not see Plaintiff's motion for TRO [in the folder] . . . To be clear,

we’d like to see the unsealed version of Plaintiff’s motion for a TRO (Dkt. 18), and any

declarations and exhibits submitted in support thereof.”). Plaintiff’s counsel responded that there

must have been a file mix-up, and that she would provide the unredacted TRO “right now.”

Jayaram Decl., ¶ 12; Ex. D at 5. More than three hours later, Plaintiff’s counsel emailed counsel

for the Affected Parties a new folder, representing that this folder contained “our motion for TRO.”

Jayaram Decl., ¶ 113; Ex. E.

       More than five hours later, at 9:20pm EST, Plaintiff’s counsel emailed counsel for the

Affected Parties, stating as follows:

       Upon reviewing our files today I realized that I inadvertently saved and filed the
       wrong motion and memorandum in support as the motion and memorandum
       in support of Plaintiff's motion for TRO in this case on August 03, 2021. I


sweeping asset freeze to take place. Id., ¶¶ 6, 8. As it turns out, Plaintiff told the Court nothing at
all. Id., ¶ 22.

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       spoke with Judge Kendall's deputy today and she advised that we can file the
       corrected document referencing ECF 18 to preserve the record. The motion that
       was included in my second email to you all today is the correct motion. . . .
       Also, Judge Kendall's chambers told me that they will be working to unseal the
       record hopefully tomorrow.

Ex. D at 2-3 (emphasis added). The following morning, counsel for OpenCommerce responded

to this email and asked, among other things, “What does it mean to say that the version you sent

us yesterday is the ‘correct’ version, and the version you filed with the Court is not?” and “What

are the differences between the TRO motion you filed on August 3 and the TRO motion you sent

us yesterday?” Ex. D at 2. Plaintiff’s counsel’s response stated that “[t]he court did receive the

redacted motion and memorandum for TRO as well as the sealed declaration of Derek DeYoung

and all supporting evidence on August 3, 2021. We did not know until late yesterday that the sealed

version of the motion I filed was mislabeled and was therefore not the correct motion.” Ex. D at

1. Based on this response, it is clear that Plaintiff’s counsel failed to provide the Court with an

unredacted courtesy copy of the sealed TRO motion, as required by Local Rule 26.2(e). This

means the Court granted the ex parte TRO without ever seeing the motion in which that

extraordinary relief was requested or the grounds for the requested relief. Jayaram Decl., ¶ 17.

       At some point last night, Plaintiff filed—for the first time—an unredacted version of its

motion for an ex parte TRO. See Dkt. 56; see also Ex. I. Plaintiff’s counsel claims that this is

somehow the “correct” TRO motion, because this is the motion that she meant to file on August

3, 2021. 5 See Ex. D at 2-3. But the motion is dated September 22, 2021 (see Ex. I at 17), not

August 3. Moreover, although the motion that was emailed to the Affected Parties on September

22 is dated August 3, 2021 (see Ex. E at 17), the document’s metadata reflects that the document



5
  Furthermore, Plaintiff’s counsel appears to have asked the Judge’s Courtroom Deputy to treat
this as the basis for the TRO entered by the Court (see Ex. D at 2-3), even though the Court has
never seen this document. Jayaram Decl., ¶¶ 21-22

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was not created until September 22. See Ex. H; Jayaram Decl., ¶ 20. As such, there is no way of

knowing whether the unredacted TRO motion that Plaintiff now wishes to now substitute for the

document it did file on August 3, 2021, even existed on August 3. And in any event, it is patently

improper for the Court to accept this filing now and rely on it retroactively as grounds for the TRO

it entered nearly six weeks ago. See, e.g., KDH Consulting Grp. LLC v. Iterative Cap. Mgmt. L.P.,

2020 WL 2554382, at *5 (S.D.N.Y. May 20, 2020) (“A court may grant a motion to dissolve a

TRO pursuant to Rule 65(b)(4) if the TRO was improperly issued.”); see also Myers v. Frontier

PMS, 2021 WL 2906065, at *6 (E.D. Tex. June 15, 2021) (dissolving TRO on emergency motion

and stating that “the court can dissolve the TRO . . . if the TRO was not issued in accordance with

applicable procedural law, or otherwise improperly issued”), report and recommendation adopted,

2021 WL 2894096 (E.D. Tex. July 9, 2021).

       The TRO in this case was entered on improper grounds—indeed, it was entered on no

grounds at all—and it should be immediately dissolved. Plaintiff’s attempt to swap out the motion

it never filed for a new motion now, six weeks after the fact, should be rejected.

                                         CONCLUSION

       Non-party OpenCommerce Group, Inc. and Defendant Dino21, LLC d/b/a Teeshirt21

respectfully request that the Court grant this Emergency Motion and (1) dissolve the Court’s

August 10, 2021 Ex Parte Temporary Restraining Order (Dkt. 21); (2) modify the Preliminary

Injunction Order entered on September 9, 2021 (Dkt. 33) to the extent it left the TRO in place; and

(3) strike ECF No. 56 from the Docket.




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  Dated: September 23, 2021          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that a true and correct copy of the foregoing

has been served on September 23, 2021 via the Court’s CM/ECF system on all counsel of record.



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